              Case 5:22-cv-00285-JLS Document 34 Filed 06/14/22 Page 1 of 12




                               UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF PENNSYLVANIA

    GREGORY V. MANCO, Ph.D.,                                 ;
                         Plaintiff,                          ;
              v.                                             : CIVIL ACTION NO. 5:22-CV-00285
                                                             ;
    ST. JOSEPH’S UNIVERSITY, ET AL                           ;
                           Defendants                        ;


      PLAINTIFF’S REPLY TO HADASSAH COLBERT, KARLEIGH LOPEZ AND ERIN
    FAHEY’S OPPOSITION FOR LEAVE OF COURT TO FILE AN AMENDED COMPLAINT

         I.       INTRODUCTION


         Plaintiff, Dr. Gregory Manco (“Dr. Manco” or “Plaintiff”) has requested leave pursuant to

Rule 15(a) of the Federal Rules of Civil Procedure to file an Amended Complaint. The instant

opposition was filed by Defendant Hadassah Colbert (“Colbert”), Karleigh Lopez (“Lopez”), and

Erin Fahey (“Fahey”), collectively (“Opposing Defendants”). Opposing Defendants filed an

opposition to Plaintiff’s Amended Complaint seeking to have this Court to preclude Plaintiff’s

claims against Opposing Defendants for Intentional Infliction of Emotional Distress (“IIED”) and

Tortious Interference With Contractual Relations. In doing so, Opposing Defendants, inter alia,

improperly support their position with alleged additional irrelevant putative facts seeded into their

response1, all of which exceed the scope of Dr. Manco’s Amended Complaint, as opposed to the

allegations within the Amended Complaint. As set forth below, Opposing Defendants’ assertions


1
  For example, Opposing Defendants have scrutinized over 18,500 anonymous (Twitter name “South Jersey Giants”)
tweets and fixated on criticizing Dr. Manco’s Constitutionally protected speech on a select few tweets. Opposing
Defendants improperly interjected their ideological dogma in criticizing Dr. Manco’s “tweets…designed to elicit
reactions…and generate public discussion (emphasis in original); that Dr. Manco “writes articles, sits for interviews
and speaks publicly on topics including reparations for slavery, racial sensitivity trainings, transgender identity,
affirmative action, diversity, equity and inclusion, the elimination of public school, minimum wage, maximum
corporate tax, abortion and the ‘welfare state.’” Opposing Defendants’ fixation further rambles objections to Dr.
Manco’s other tweets, alleging that “his references to a Member of Congress…is an idiot, scumbag, socialist, pure
evil, unintelligent, imbecile, POS and criminal.” (See Doc. 30, p. 1-2).

                                                         1
         Case 5:22-cv-00285-JLS Document 34 Filed 06/14/22 Page 2 of 12




in opposition are improper hyperbole which are again designed to “cancel” Dr. Manco’s

Constitutional rights before this Court, are without merit and are inconsistent with the standard of

review at this juncture.

       Plaintiff’s Motion for Leave should be granted.

       II.     ARGUMENT

               A. Legal Standard

       The legal standard to file a Motion to Amend is set forth in Federal Rule of Civil Procedure

15, which states in relevant part:

               (a) Amendments Before Trial.

               (1) Amending as a Matter of Course. A party may amend its
               pleading once as a matter of course within:

               (A) 21 days after serving it, or

               (B) if the pleading is one to which a responsive pleading is required,
               21 days after service of a responsive pleading or 21 days after
               service of a motion under Rule 12(b), (e), or (f), whichever is earlier.

               (2) Other Amendments. In all other cases, a party may amend its
               pleading only with the opposing party’s written consent or the
               court’s leave. The court should freely give leave when justice so
               requires.

               (3) Time to Respond. Unless the court orders otherwise, any
               required response to an amended pleading must be made within the
               time remaining to respond to the original pleading or within 14 days
               after service of the amended pleading, whichever is later.

       It is axiomatic, and universally recognized throughout the United States, that Federal Rule

of Civil Procedure 15 shall be liberally construed, encouraged and favored, where no prejudice or

disadvantage was suffered by opposing side. McDowall v. Orr Felt & Blanket Co., 146 F.2d 136,

1944 U.S. App. LEXIS 2261 (6th Cir. 1944); Blair v. United States, 9 Lab. Cas. (CCH) ¶ 2533,

147 F.2d 840, 9 Lab. Cas. (CCH) P62533, 1945 U.S. App. LEXIS 3408 (8th Cir.), modified, 10
                                            2
         Case 5:22-cv-00285-JLS Document 34 Filed 06/14/22 Page 3 of 12




Lab. Cas. (CCH) ¶ 2750, 150 F.2d 676, 10 Lab. Cas. (CCH) P62750, 1945 U.S. App. LEXIS 2832

(8th Cir. 1945).

               Leave to amend pleadings…is generally at the discretion of the trial
               court, Foman v. Davis, 371 U.S. 178, 182, 83 S. Ct. 227, 230, 9 L.
               Ed. 2d 222 (1962), Zenith Radio Corporation v. Hazeltine Research,
               Inc., 401 U.S. 321, 330, 91 S. Ct. 795, 802, 28 L. Ed. 2d 77 (1971),
               and "(courts) have shown a strong liberality … in allowing
               amendments under Rule 15(a)," 3 Moore's Federal Practice P
               15.08(2) at 15-59 (2d ed. 1980), (footnote omitted), which
               specifically states that leave to amend "shall be freely given when
               justice so requires.”

Heyl & Patterson International, Inc. v. F. D. Rich Housing, Inc., 663 F.2d 419, 425, 1981 U.S.
App. LEXIS 16761, *12-13, 32 Fed. R. Serv. 2d (Callaghan) 1305 (emphasis added)

       One factor of any motion to amend is prejudice to the non-moving party. Lorenz v. CSX

Corp., 1 F.3d 1406, 1413-14 (3d Cir. 1993). The test is whether the amendment would unfairly

prejudice the non-moving party. See Phoenix Technologies, Inc. v. TRW, 834 F. Supp. 148 (E.D.

Pa. 1993); Bryn Mawr Hospital v. Coatesville Electric Supply Co., 776 F. Supp. 181 (E.D. Pa.

1991) (court should refuse to allow amendment only if opposing party can show that it was unfairly

disadvantaged or deprived of opportunity to present facts or evidence). Indeed, in Adams v. Gould,

739 F. 2d 858 (3d Cir. 1984), the Third Circuit held that the district court abused its discretion in

denying leave to amend after summary judgment had been granted against plaintiff on an

alternative theory of liability where no showing of prejudice, undue delay or bad faith was made.

       Generally, leave to amend pleadings is freely given in the interest of justice, however, leave

to amend should not be granted when it would cause undue delay, was brought in bad faith or as a

dilatory tactic, would cause prejudice or when amendment would be futile. Pharmaceutical Sales

and Consulting Corp. v. J.W.S. Delavau Co. Inc., 106 F. Supp. 2d 761, 764 (D.N.J. 2000) (citation

omitted). In disposing of Opposing Defendants’ objections, infra, it is abundantly clear that


                                                 3
         Case 5:22-cv-00285-JLS Document 34 Filed 06/14/22 Page 4 of 12




Opposing Defendants’ grounds for objection do not exist, that that there is no undue delay, no bad

faith, no dilatory motive, no prejudice, and Dr. Manco’s claims are not futile.

                  Plaintiff’s Claims Against Opposing Defendants Are Not Futile

       Opposing Defendants predicate their objections on assertions that Dr. Manco’s claims are

“futile”. When assessing the “futility” of a proposed amended, courts are to apply the same

standard used to decide whether to grant a motion to dismiss pursuant to Federal Rule of Civil

Procedure 12(b)(6). As set forth by then, Judge Alito:

               A motion to dismiss pursuant to Rule 12(b)(6) may be granted only
               if, accepting all well pleaded allegations in the complaint as true,
               and viewing them in the light most favorable to plaintiff, plaintiff
               is not entitled to relief. Bartholomew v. Fischl, 782 F.2d 1148, 1152
               (3d Cir. 1986). "The issue is not whether a plaintiff will ultimately
               prevail but whether the claimant is entitled to offer evidence to
               support the claims." Scheuer v. Rhodes, 416 U.S. 232, 236, 40 L.
               Ed. 2d 90, 94 S. Ct. 1683 (1974). (emphasis added)

Id at 1420.
       In turning to the facts at Bar, and viewing them in a light most favorable to Dr. Manco, all

well plead facts in Plaintiff’s Amended Complaint are deemed admitted for purposes of

determining whether they are futile, i.e., the Rule 12(b)(6) standard. Likewise, Opposing

Defendants attempt to invite this Court to look beyond the Amended Complaint, editorialize and

interject their version of the facts, all of which is improper and should be disregarded. Indeed,

Opposing Defendants, by their arguments, are inviting this Court to be distracted by Opposing

Defendants’ ineffectual hyperbole, short circuit the pleadings and discovery, and move this Court

to their version of the facts in essentially moving for Summary Judgment. This is improper.




                                                 4
         Case 5:22-cv-00285-JLS Document 34 Filed 06/14/22 Page 5 of 12




       1. Intentional Infliction of Emotional Distress “IIED”

       Under Pennsylvania law, in order to sustain a claim for an IIED claim, a plaintiff must

prove, “(1) the conduct [of the defendant] must be extreme and outrageous; (2) it must be

intentional and reckless; (3) it must cause emotional distress; [and] (4) that distress must be

severe.” Chuy v. Phila. Eagles Football Club, 595 F.2d 1265, 1273 (3d Cir. 1979) (in referencing

the Restatement (Second) of Torts § 46 as the basis for establishing an IIED claim under

Pennsylvania law). Under the Restatement (Second) of Torts § 46, liability can only be found,

“where the conduct has been so outrageous in character, and so extreme in degree, as to go beyond

all possible bounds of decency, and to be regarded as atrocious, and utterly intolerable in a civilized

community.” Id. at 1274 (citing Restatement (Second) of Torts § 46, cmt. d). “Generally, the case

is one in which the recitation of the facts to an average member of the community would arouse

his resentment against the actor, and lead him to exclaim, "Outrageous!" Kazatsky v. King David

Memorial Park, 515 Pa. 183, 191, 527 A.2d 988, 991, 1987 Pa. LEXIS 734, *12-13. “The term

"outrageous" is neither value-free nor exacting. It does not objectively describe an act or series of

acts; rather, it represents an evaluation of behavior. The concept thus fails to provide clear guidance

either to those whose conduct it purports to regulate, or to those who must evaluate that conduct.”

Id at 195.

       In Chuy, the Third Circuit Court of Appeals affirmed the jury’s IIED award to the plaintiff.

Id. at 1270.    Plaintiff was a former football player for the Philadelphia Eagles who was

misdiagnosed with a potentially fatal medical condition. Id. at 1269-70. Plaintiff’s IIED claim

centered around the Eagles team physician’s single statement to the Philadelphia Bulletin which

discussed plaintiff’s purported condition and how the condition would affect plaintiff moving

                                                  5
            Case 5:22-cv-00285-JLS Document 34 Filed 06/14/22 Page 6 of 12




forward. Id. at 1273. After reading the Eagles team physician’s statement after the story was

picked up nationally, plaintiff suffered from emotional disturbances in his day-to-day life, which

continued even after he was informed that he did not have the medical condition at issue. Id. at

1270.

          The Chuy Court affirmed the decision, holding, in part, when accepting the plaintiff’s

version of events as true, that the statements made by the Eagles team physician to the Philadelphia

Bulletin constituted “intolerable professional conduct” due to the physician knowing the statement

he gave was not true. Id. at 1274.

          In turning to the facts of the case at Bar, Chuy vitiates many of Opposing Defendants’

objections. Indeed, Chuy involved a single statement. Thus, Opposing Defendants’ reliance upon

the number tweets and statements referenced in the Amended Complaint, as being insufficient to

sustain a claim for IIED, is misplaced. The Chuy plaintiff was not present when the Eagles team

physician made the statement. Thus, Opposing Defendants’ argument regarding Dr. Manco’s lack

of physical presence also fails. Chuy involved a statement where plaintiff was misdiagnosed with

a potentially fatal medical condition. Akin to a fatal medical condition, and despite St. Joseph’s

outside investigator concluding that “there [was] no evidence” of racial bias in his classroom2

towards Colbert nor towards any other students, Dr. Manco was publicly denounced and branded

a racist, and lost his livelihood by joint conduct of all Defendants as alleged with specificity in

Plaintiff’s Amended Complaint. Indeed, being branded as a racist and having his professional

career “cancelled” by all Defendants, as articulated in Plaintiff’s Amended Complaint, is

"outrageous” as defined by Kazatsky and contemporary norms. To suggest that Plaintiff’s




2
    See ¶ 69 of the Amended Complaint

                                                 6
             Case 5:22-cv-00285-JLS Document 34 Filed 06/14/22 Page 7 of 12




Amended Complaint fails to plead "outrageous” conduct3, as defined by Kazatsky, is to ignore that

warning of Kazatsky that "outrageous” is “neither value-free nor exacting. It does not objectively

describe an act or series of acts; rather, it represents an evaluation of behavior.” Id. at 195.

                                             Quasi-Judicial Immunity
           Opposing Defendants4 assertions that their conduct, as alleged in Plaintiff’s Amended

Complaint, falls within quasi judicial privilege is absurd. Opposing Defendants advance the

argument that these former students of Saint Joseph’s University (“SJU”), who never complained

of Dr. Manco until they first saw Dr. Manco’s tweet years after graduation, and who themselves

conspired to “cancel” Plaintiff through a systemic process, motivated by express malice in calling

him racist, are now cloaked in immunity is misplaced. In Overall v. Univ. of Pa., 412 F.3d 492,

(2005), then Judge Alito explained quasi-judicial privilege: “Pennsylvania cases finding quasi-

judicial privilege consistently involve proceedings before federal, state, or local governmental

bodies, or proceedings held pursuant to a statute or administrative regulation.” Id at 497

(emphasis added)

           In reversing the District Court for improperly providing quasi-judicial privilege to any

proceeding that applies facts to law the Third Circuit further stated in Overall:

                    The District Court misapprehended the essence of quasi-judicial
                    proceedings. While "applying law to facts" is undeniably an
                    attribute of such proceedings, our research reveals that under
                    Pennsylvania law government involvement is also a necessary
                    condition for according quasi-judicial status to grievance
                    procedures.


3
    See allegations within Plaintiff’s Amended Complaint at ¶¶ 91, 114, 115, 122, 123, 213, 215, 216 and 217
4
  By citing the Memorandum opinion of Fogel v. University of the Arts 2019 U.S. Dist. LEXIS 51763 of Judge
Kearney. Notably, Judge Kearney later authored the Memorandum Opinion in Ralston v. Garabeedian, NO. 19-1539
(2021) and cited Overall with approval for the proposition that “Our Court of Appeals held ‘government involvement’
is ‘a necessary condition for according quasi-judicial status to grievance procedures’ under Pennsylvania law” Id at
16.

                                                           7
Case 5:22-cv-00285-JLS Document 34 Filed 06/14/22 Page 8 of 12




    We have not found a single Pennsylvania case according quasi-
    judicial status to entirely private hearings. Rather, Pennsylvania
    cases finding quasi-judicial privilege consistently involve
    proceedings before federal, state, or local governmental bodies, or
    proceedings held pursuant to a statute or administrative
    regulation….

    Secondary sources referenced in Pennsylvania quasi-judicial
    privilege cases bolster this conclusion. Every case cited in the
    leading torts treatise involves a government entity of some sort. The
    Restatement (Second) of Torts explains that quasi-judicial privilege
    should be extended to any person acting as a judge of a court,
    whether of general or limited jurisdiction. It is also applicable to any
    other official, judicial or otherwise, who performs a judicial
    function, such, for example, as a master in chancery, a referee in
    bankruptcy, a member of a military tribunal or the governor of a
    State of the United States engaged in an extradition hearing.

    Restatement (Second) of Torts § 585. Each example in this passage
    involves a government actor. The Restatement goes on to discuss
    other "governmental agencies" that sometimes perform quasi-
    judicial functions, such as "public utility commissions and utility
    boards." Id. It concludes that "it is immaterial whether the body of
    which the judicial officer is a member is created by the constitution
    or by statute." Id. Implicit in this rule is the assumption that the
    "judicial officer" must be a public official.

    Unlike all of the cases cited above, the present case involves an
    entirely private grievance procedure. No state or federal statute
    authorized it, and no public officials presided over it. Nor was it the
    product of a collective bargaining agreement. Furthermore, the
    defendants could not point to any case, in Pennsylvania or
    elsewhere, that involved an entirely private proceeding akin to the
    one at issue here.

    Sound reasons exist for this public-private distinction. Government
    hearings typically involve basic procedural safeguards that may be
    lacking in private proceedings. For example, the Penn grievance
    procedure at issue here did not require sworn testimony. The
    volunteer faculty members who presided over the hearing lacked the
    power to make any binding judgment or enforce any disciplinary
    measures; they could only make recommendations. And of
    particular relevance to this case, no one kept a transcript of what was

                                       8
         Case 5:22-cv-00285-JLS Document 34 Filed 06/14/22 Page 9 of 12




               said during the hearing, so there is no record of exactly what Dr.
               Smith said when he allegedly defamed Dr. Overall.

               Pennsylvania of course is free to set the scope of its quasi-judicial
               privilege as it wishes, but we have found absolutely no support for
               the argument advanced in this case by the University of
               Pennsylvania. We agree with the Restatement that "the fact that an
               official or board is required to find facts as a basis for its action does
               not of itself make the function of the official or board judicial," and
               hold that the District Court erred in deeming Penn's procedure quasi-
               judicial. Restatement (Second) of Torts, § 585 cmt. b. We therefore
               reverse the entry of summary judgment in favor of Penn on Dr.
               Overall's defamation claim and remand for further proceedings.

Overall v. Univ. of Pa., 412 F.3d 492, 497-498, (2005)

       In turning to the facts at Bar, nothing about the conspiracy to publicly defame Dr. Manco

and “cancel” him, as alleged in Plaintiff’s Amended Complaint, falls within the ambit of this

putative quasi-judicial immunity. Objecting Defendants’ conduct, and the process by which they

“cancelled” Plaintiff was not akin, or reasonably related to a proceeding tantamount to judicial

and/or quasi-judicial proceeding. Assuming, arguendo, this Court may potentially consider

Objecting Defendants to part of quasi-judicial proceedings, such an argument would, nevertheless,

fail as their conduct could not reasonably be construed to contemplate quasi-judicial proceedings

because “[t]he Pennsylvania Supreme Court applies the judicial privilege to communications made in

anticipation of a quasi-judicial proceeding.” Ralston at 16.

       2. Tortious Interference

       Objecting Defendants’ proposed Order seeks to strike Dr. Manco’s claims for tortious

interference, but they fail to raise it in their brief. Thus, Objecting Defendants’ argument is waived.

See generally, 592 F. Supp. 562 (1984). Notwithstanding, Plaintiff herein incorporates Plaintiff’s

Reply to Defendant Susan Liebell’s Opposition for Leave of Court to File an Amended Complaint

as thought the same were set forth herein by reference. Plaintiff further states as follows.

                                                   9
        Case 5:22-cv-00285-JLS Document 34 Filed 06/14/22 Page 10 of 12




        To prove tortious interference with an existing or prospective contract under Pennsylvania

law, Plaintiff must prove four elements: (1) the existence of a contractual relationship or

prospective contractual relationship between the plaintiff and another party; (2) an intent on the

part of the defendant to harm the plaintiff by interfering with that contractual relationship or

preventing the relationship from occurring; (3) the absence of privilege or justification on the part

of the defendant; and (4) the occasioning of actual damage as a result of defendant's conduct. See,

Phillips v. Selig, 2008 PA Super 244, 959 A.2d 420, 428-29 (Pa. Super. Ct. 2008); see also

Restatement (Second) of Torts, § 766-766B (1979). BP Envtl. Servs. v. Republic Servs., 946 F.

Supp. 2d 402, 407, 2013 U.S. Dist. LEXIS 71536, *7-8, 2013 WL 2182740. In turning the facts

of the case at Bar, the Amended Complaint is replete with facts which support the claim of tortious

interference against Opposing Defendants.

       III.    Conclusion

       For the foregoing reasons, Opposing Defendants’ objections to Dr. Manco’s Amended

Complaint are without merit and, consequently, Plaintiff’s Motion for Leave should be granted.

                                                      ZARWIN, BAUM, DeVITO,
                                                      KAPLAN, SCHAER & TODDY, P.C.

                                                      /s/ Joseph M. Toddy
                                                      Joseph M. Toddy, Esq.
                                                      2005 Market Street, 16th Floor
                                                      Philadelphia, PA 19103
                                                      215.569.2800; Fax 215.569.1606
                                                      Attorneys for Plaintiff
Dated: June 14, 2022                                  jmtoddy@zarwin.com




                                                 10
        Case 5:22-cv-00285-JLS Document 34 Filed 06/14/22 Page 11 of 12




                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA

 GREGORY V. MANCO, Ph.D.,                        :
                                                 :
                       Plaintiff,                :
                                                 :
        v.                                       :    CIVIL ACTION NO. 5:22-CV-00285
                                                 :
 ST. JOSEPH’S UNIVERSITY,                        :
 HADASSAH COLBERT, KIERNAN                       :
 LOUE, LYNLY CARMAN, DR. SUSAN                   :
 LIEBELL, KARLEIGH LOPEZ, ERIN                   :
 FAHEY                                           :
                                                 :
                       Defendants.               :

       I, Joseph M. Toddy, Esq. hereby certify that on, I made this document available for viewing

by all registered users of this Court’s ECF system, including:

                                 Leslie Miller Greenspan, Esq.
                                      Tucker Law Group
                                1801 Market Street, Suite 2500
                                    Philadelphia, PA 19103
                        Attorney for Defendants, St. Joseph’s University

                                  Deniz Uzel Reilly, Esq.
                                   Fisher & Phillips LLP
                                100 N. 18th Street, 12th Floor
                                  Philadelphia, PA 19103
    Attorney for Defendants, Hadassah Colbert, Kiernan Loue, Karleigh Lopez, Erin Fahey

                                     Kristen Lizzano, Esq.
                                  March, Hurwitz & DeMarco
                                  1100 North Providence Road
                                       Media, PA 19063
                             Attorney for Defendant, Lynly Carman

                                       Robert Drake, Esq.
                                      Drake Speciale LLC
                                 221 Chestnut Street, Suite 200
                                     Philadelphia, PA 19106
                            Attorney for Defendant, Dr. Susan Liebell
       Case 5:22-cv-00285-JLS Document 34 Filed 06/14/22 Page 12 of 12




                                         ZARWIN, BAUM, DeVITO,
                                         KAPLAN, SCHAER & TODDY, P.C.

                                         /s/ Joseph M. Toddy
                                         Joseph M. Toddy, Esq.
                                         2005 Market Street, 16th Floor
                                         Philadelphia, PA 19103
                                         215.569.2800; Fax 215.569.1606
                                         Attorneys for Plaintiff
                                         jmtoddy@zarwin.com


Dated: June 14, 2022
